 Case 19-57013-wlh         Doc 16     Filed 07/24/19 Entered 07/24/19 09:13:51              Desc Main
                                      Document      Page 1 of 3




    IT IS ORDERED as set forth below:



    Date: July 23, 2019
                                                            _____________________________________
                                                                       Wendy L. Hagenau
                                                                  U.S. Bankruptcy Court Judge

_______________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

       IN RE:                                           :              CHAPTER 13
       MELANIE LAWSON CLARK                             :              CASE NO. A19-57013-WLH
             DEBTOR                                     :

                        ORDER DISMISSING CASE WITH PREJUDICE

       On July 17, 2019 at 1:30 p.m., the Court held a hearing on the Chapter 13 Trustee’s Motion to

Dismiss Case with Prejudice. The Trustee filed Objections to Confirmation of the Debtor’s plan and a

Motion to Dismiss with Prejudice. The Trustee filed a Certificate of Service showing service of the

Motion and a Notice of Hearing on the Debtor. Present at the hearing was Counsel for the Chapter 13

Trustee. Based upon review of the record IT IS HEREBY,

       ORDERED that this case is dismissed with prejudice. Pursuant to 11 U.S.C. § 109(g), the

Debtor is ineligible to be a Debtor in a case under Chapter 13 of Title 11 of the United States Code for a

period of 180 days from the entry of this Order.
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        The Clerk of the Court is directed to serve this Order on the parties included on the attached

Distribution List.

                                      END OF DOCUMENT

Presented By:


 /s/
Ryan J. Williams,
Attorney for Chapter 13 Trustee
GA Bar No. 940874
303 Peachtree Center Ave., NE
Suite 120
Atlanta, GA 30303
(678) 992-1201

                                      DISTRIBUTION LIST

Case Number A19-57013-WLH

Melanie Lawson Clark
5313 Redfield Road
Atlanta, GA 30338

Galler Law, LLC
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Roswell, GA 30077

Nancy J. Whaley
303 Peachtree Center Ave., NE
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                (ALL CREDITORS LISTED ON MAILING MATRIX)
Label Matrix forCase     19-57013-wlh
                  local noticing                Doc 16    Filed
                                                     Bradford Clark07/24/19 Entered 07/24/19 09:13:51
                                                                                              Melanie LawsonDesc
                                                                                                             Clark Main
113E-1                                                    Document
                                                     5313 Redfield Road    Page 3 of 3        5313 Redfield Road
Case 19-57013-wlh                                     Atlanta, GA 30338-3723                              Atlanta, GA 30338-3723
Northern District of Georgia
Atlanta
Tue Jul 23 09:23:44 EDT 2019
Deutsche Bank Trust Company Americas                  David E. Galler                                     (p)GEORGIA DEPARTMENT OF REVENUE
c/o PHH Mortgage Corporation                          Galler Law, LLC                                     COMPLIANCE DIVISION
1Mortgage Way, Mail stop SV-22                        P. O. Box 2118                                      ARCS BANKRUPTCY
Mt. Laurel, NJ 08054-4637                             Roswell, GA 30077-2118                              1800 CENTURY BLVD NE SUITE 9100
                                                                                                          ATLANTA GA 30345-3202

Radha E. Gordon                                       (p)INTERNAL REVENUE SERVICE                         Maria C. Joyner
Aldridge Pite, LLP                                    CENTRALIZED INSOLVENCY OPERATIONS                   Nancy J. Whaley,
Suite 500, Fifteen Piedmont Center                    PO BOX 7346                                         Standing Chapter 13 Trustee
3575 Piedmont Road, N.E.                              PHILADELPHIA PA 19101-7346                          Suite 120
Atlanta, GA 30305-1636                                                                                    303 Peachtree Center Avenue
                                                                                                          Atlanta, GA 30303-1286
Ocwen Loan Servicing, LLC                             United States Attorney                              Weissman, PC
PO Box 24738                                          Northern District of Georgia                        One Aliiance Center, 4th Floor
West Palm Beach, FL 33416-4738                        75 Ted Turner Drive SW, Suite 600                   3500 Lenox Road
                                                      Atlanta GA 30303-3309                               Atlanta, GA 30326-4228


Nancy J. Whaley
Nancy J. Whaley, Standing Ch. 13 Trustee
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303-1216



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Georgia Department of Revenue                         Internal Revenue Service
ATTN: Bankruptcy Department                           401 West Peachtree Street
1800 Century Blvd., N.E.                              M/S 334-D
Atlanta, GA 30345-0000                                Atlanta, GA 30308-3539




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Deutsche Bank National Trust Company Ameri         (u)PHH Mortgage Corporation                         End of Label Matrix
                                                                                                          Mailable recipients      12
                                                                                                          Bypassed recipients       2
                                                                                                          Total                    14
